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                              EXHIBIT A
                            Proposed Order
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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF IOWA

                                             )
    In re:                                   )                        Chapter 11
                                             )
    MERCY HOSPITAL, IOWA CITY, IOWA, et al., )                        Case No. 23-00623 (TJC)
                                             )
                        Debtors.             )                        Jointly Administered
                                             )
                                             )

    [PROPOSED] REDUCING PERIOD OF TIME BETWEEN OBJECTION DEADLINE
    AND DISCLOSURE STATEMENT HEARING PURSUANT TO LOCAL RULE 3017-1

         Upon the motion (the “Motion”) 1 of the above-captioned debtors and debtors-in-possession

(collectively, the “Debtors”) for entry of an order (this “Order”) pursuant to Local Rule 3017-1

reducing the period of time between the bar date for objections to the disclosure statement portion

of the Combined Plan and Disclosure Statement and the hearing date to consider approval of the

disclosure statement portion of the Combined Plan and Disclosure Statement, all as more fully set

forth in the Motion; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§

157 and 1334 and the Public Administrative Order referring bankruptcy cases entered by the

United States District Court for the Northern District of Iowa; and this Court being able to enter a

final order consistent with Article III of the United States Constitution; and this Court having found

that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and this Court having found that

venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this Court having found that the relief requested in the Motion is in the best interests

of the Debtors’ estates, their creditors, and other parties in interest; and this Court having reviewed

the Motion; and this Court having determined that the legal and factual bases set forth in the



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    Capitalized terms used but not defined herein have the meanings given to such terms in the Motion.
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Motion establish just cause for the relief granted herein; and upon all of the proceedings had before

this Court; and after due deliberation and sufficient cause appearing therefore, it is HEREBY

ORDERED THAT:

        1.      The Motion is granted as set forth in this Order.

        2.      The Court finds that sufficient cause exists under Local Rule 3017-1 to reduce the

period of time between the bar date for objections to the disclosure statement portion of the

Combined Plan and Disclosure Statement and the hearing to consider approval of the disclosure

statement portion of the Combined Plan and Disclosure Statement.

        3.      Pursuant to Local Rule 3017-1, the Court approves the period of time between the

Objection Deadline and Hearing Date.

        4.      The Court shall hold a hearing on Wednesday, March 27, 2024 to consider approval

of the disclosure statement portion of the Combined Plan and Disclosure Statement.

        5.      Counsel for the Debtors shall file a hearing and date notice in accordance with the

dates set forth in this Order.

        6.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.



Dated and entered this ____ day of ________, 2024.



                                               __________________________________

                                               Honorable Thad J. Collins, Chief Judge



Prepared and Submitted By:

NYEMASTER GOODE, P.C.


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Debtors-in-Possession


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